Case 2:03-cr-20476-SH|\/| Document 134 Filed 05/20/05 Page 1 of 2 Page|D 1654

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IN THF.. UNITED sTATEs DISTRICT coURT
FOR THE wEsTERN DISTRICT oF TENNESSEE 055="1,§`? 20 F:F‘? 91 52
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UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. O3e20476-Ma

VS.

TOMMIE BROWN, JR.,

~__/~._/~._,\J~./~._/~.,\_/~__/

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a hearing on May 18, 2005. At the
conclusion of the hearing, defense counsel requested a Continuance
of the trial date in order to allow for additional preparation in
the case.

The Court granted the request and continued the trial to the
rotation docket beginning July 5, 2005 at 9:30 a.m., With a report
date of Friday, June 24, 2005 at 2:00 p.m.

The period from. May 18, 2005 through July 15, 2005 is
excludable under 18 U.S.C. § BlGl(h)(B)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

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IT IS SO ORDERED this day of May, 2005.

MM»

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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oF TENNESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 134 in
case 2:03-CR-20476 Was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

